Case 2:04-cr-20170-SHL Document 62 Filed 08/30/05 Page 1 of 2 Page|D 61

Fll.Ec) ev _____ D.c.

IN THE UNITED sTATEs DISTRICT CoURT 05 AUG 30 PH 1.= | |
FOR THE WESTERN DISTRICT 0F TENNESSEE

 

 

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UNITED sTArEs oF AMERICA, W'"»»f E---'-‘ '\WS

Plaintiff,
v. Case No. 04-20170-D
MICHAEL PlNKERToN,

Defendant.

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This cause came on to be heard upon motion of the defendant to continue his suppression
hearing based upon the need for additional preparation of his case. Upon statement of counsel
and the entire record, the Court finds the motion well taken and grants defendant’s request.

WHEREFORE, the defendant’s motion for suppression will be reset by the Court.

All time exclusions will apply to avoid prejudice to the government

    

  

onorable erniee Donald
District Court Judge

Dated:CZ¢‘f¢.L`£@,Mj/

 
  

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UNITED sTATE DISTRIC COURT - WESTERN D's'TRCT 0 TESSEE

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Honcrable Bernice Donald
US DISTRICT COURT

